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   8
                               UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10    RICARDO SHERFIELD,                                 Case: 2:20-cv-08016-FMO-AFM
  11             Plaintiff,
  12      v.                                               Plaintiff’s Notice of Voluntary
                                                           Dismissal With Prejudice
  13    ROIC PARAMOUNT PLAZA, LLC, a
        Delaware Limited Liability
  14    Company; 99 CENTS ONLY
        STORES LLC, a California Limited                   Fed. R. Civ. P. 41(a)(1)(A)(i)
  15    Liability Company; and Does 1-10,
  16             Defendants.
  17           PLEASE TAKE NOTICE that Plaintiff Ricardo Sherfield, hereby
  18   voluntarily dismisses the above captioned action with prejudice pursuant to
  19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
  20           Defendants ROIC Paramount Plaza, LLC and 99 Cents Only Stores
  21   LLC has neither answered Plaintiff’s Complaint, nor filed a motion for
  22   summary judgment. Accordingly, this matter may be dismissed without an
  23   Order of the Court.
  24   Dated: November 13, 2020                CENTER FOR DISABILITY ACCESS
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  26                                           By:     /s/ Amanda Seabock
  27                                                   Amanda Seabock
                                                       Attorneys for Plaintiff
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                      Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                                  Federal Rule of Civil Procedure 41(a)(1)(A)(i)
